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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF GEORGIA
DUBLIN DIVISION

TERESA POPE HOOKS, individually;
and ESTATE OF DAVID HOOKS, by
Teresa Pope Hooks,
Administratrix,

 

CY 316-023

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Plaintiffs, *
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v. *
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CHRISTOPHER BREWER, *
*

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Defendant.

ORDER

Defendant’s motion for leave of absence having been
inadvertently filed for the wrong defense attorney, the related
motion to withdraw the motion for leave of absence (doc. no. 185)
is GRANTED. The Clerk shall TERMINATE the motion for leave of
absence filed on behalf of Kelly L. Christopher, Esq. (doc. no.
184). The motion for leave of absence filed on behalf of Timothy

J. Buckley III, Esq. (doc. no. 186) has been taken under

advisement. ~~
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ORDER ENTERED at Augusta, Georgia, this , day of November,

2021.
Yd OT Toc&

UNITED ee DISTRICT JUDGE

   

 
